Case 10-60990-wlh        Doc 83   Filed 03/02/21 Entered 03/02/21 15:39:52          Desc Main
                                  Document      Page 1 of 3




   IT IS ORDERED as set forth below:



   Date: March 2, 2021

                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :             CHAPTER 7
                                                    :
BOBBY MANALCUS WILBANKS                             :             CASE NO. 10-60990-WLH
and KIMBERLY ANN WILBANKS,                          :
                                                    :
         Debtors.                                   :

    CONSENT ORDER SUSTAINING TRUSTEE’S OBJECTION TO EXEMPTIONS

         On August 17, 2018, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate of

Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks (“Debtors”), filed his Objection to

Claimed Exemptions [Doc. No. 64] (the “Objection”) seeking, among other things, an order

from the Court disallowing Debtors’ claimed exemptions in settlement payments related to

certain pelvic mesh litigation (the “Exemption”).




16252712v1
Case 10-60990-wlh       Doc 83     Filed 03/02/21 Entered 03/02/21 15:39:52           Desc Main
                                   Document      Page 2 of 3




        Having considered the Objection and the entire record in this matter; Debtors having

consented to the entry of this Order; and, for good cause shown, it is hereby

        ORDERED that the Objection is SUSTAINED: Debtors’ claimed Exemption is

disallowed as claimed and allowed in the amount of $11,500.00 under O.C.G.A. § 44-13-

100(a)(6) and (a)(11)(D).

                                      [END OF DOCUMENT]

Order prepared and consented to by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Consented to by:
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Attorneys for Debtors
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Identification of parties to be served:

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16252712v1
Case 10-60990-wlh        Doc 83   Filed 03/02/21 Entered 03/02/21 15:39:52   Desc Main
                                  Document      Page 3 of 3




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16252712v1
